     Case 1:18-cv-04814-LJL-SDA         Document 361       Filed 01/04/23    Page 1 of 1


UNITED STATES DISTRICT COURT SOUTHERN
DISTRICT OF NEW YORK
                                  X
JODI ROUVIERE and ANDRE ROUVIERE,
                      Plaintiffs,
           -against-                                            18 CIVIL 4814 (LJL)

                                                                   JUDGMENT

DEPUY ORTHOPAEDICS, INC. n/k/a MEDICAL
DEVICE BUSINESS SERVICES, INC. and HOWMEDICA
OSTEONICS CORPORATION d/b/a
STRYKER ORTHOPAEDICS,
                      Defendant.
                                     -X
       It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated September 17, 2021, (ECF Doc. No. 318)

Defendant DEPUY ORTHOPAEDICS, INC.’s motion for summary judgment is GRANTED.

Dated: New York, New York
      January 4, 2023


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                                                                U.S.D.J.
